Case 2:06-cv-05455-MCA-LDW Document 130 Filed 08/10/10 Page 1 of 3 PageID: 1964




 FRANZBLAU DRATCH, P.C.
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 Attorneys for Non-Party Movants
 VAR CONSULTING, INC. AND
 AMERICAN WHOLESALE DISTRIBUTION, INC.

                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

 --------------------------------------------------------------X
 N.V.E., INC.,                                                 :   Civil Action No.:
                                                                   2:06-CV-05455(HAA)(ES)
                  Plaintiff,                                   :

         - v. -                                                         MOTION DATE:
                                                               :        September 7, 2010
 JESUS J. PALMERONI, a/k/a Joseph
 Palmeroni, RONALD SUMICEK, SUNBELT                            :
 MARKETING, ABC CORPORATIONS 1-10
 and JOHN DOES 1-10,                                           : ORAL ARGUMENT REQUESTED

 Defendants.                                                   :
                                                               :
 --------------------------------------------------------------X
 JESUS J. PALMERONI,                                           :

                  Third-party plaintiff,                       :

         - v. -                                                :   NOTICE OF
                                                                   MOTION TO QUASH AND
 ROBERT OCCHIFINTO and WALTER                                  :   FOR PROTECTIVE ORDER
 ORCUTT,
                                                               :
                  Third-party defendants.
                                                               :
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Case 2:06-cv-05455-MCA-LDW Document 130 Filed 08/10/10 Page 2 of 3 PageID: 1965




          PLEASE TAKE NOTICE that on September 7, 2010, at 9: a.m. in the forenoon

 of that day or as soon thereafter as counsel may be heard, non-party Movants, VAR

 Consulting, Inc. and American Wholesale Distribution, Inc., by and through their

 attorneys, Franzblau Dratch, P.C., will move this Court at the Martin Luther King, Jr.

 Federal Building and Court House, 50 Walnut Street, Newark, New Jersey 07102, for an

 Order:

          (1)     quashing the subpoenas served on BANK OF AMERICA seeking records

 of any and all accounts maintained there by VAR CONSULTING, INC. AND AMERICAN

 WHOLESALE DISTRIBUTION, INC. pursuant to Fed. R. Civ. Proc. 45(c), or

 alternatively,

          (2)     directing that the subject records be disclosed pursuant to a confidentiality

 order, for attorney’s eyes only, and that they be used only in connection with this

 litigation, pursuant to Fed. R. Civ. Proc. 26(c), and

          (3)     granting such other and further relief as this Court may deem appropriate.

          PLEASE TAKE FURTHER NOTICE that movants rely upon the accompanying

 Memorandum of Law, Declaration of Vincent Rosarbo, together with the exhibits

 annexed thereto. A proposed form of Order is submitted herewith.

                                            FRANZBLAU DRATCH, P.C.
                                            Attorneys for Non-Party Movants
                                            VAR CONSULTING, INC. AND
                                            AMERICAN WHOLESALE DISTRIBUTION, INC.


 Dated: August 10, 2010                     By: /s/ Stephen Dratch__
                                                Stephen Dratch

                                  CERTIFICATE OF SERVICE
Case 2:06-cv-05455-MCA-LDW Document 130 Filed 08/10/10 Page 3 of 3 PageID: 1966




       I hereby certify that on August 10, 2010, I served the foregoing Notice of Motion,

 together with supporting memorandum of law and supporting declaration and a

 proposed form of Order, upon all parties of record appearing in this action by electronic

 means, by filing such documents with this Court via its Electronic Filing System.



 Dated: August 10, 2010                          By: /s/ Stephen Dratch__
                                                        Stephen Dratch
